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                             UNITED STATES DISTRICT COURT
                             SO U TH E RN D ISTR ICT O F FLO R ID A
                               CA SE N O :19-62186-C V -UN G A R O

BRYAN ASHLEY GRIFFEN , eta1.,

          Plaintiff,


GIROS RAPIDEZ,LLC.,

              D efendants.



      ORDER SETTING INITIAL PLANNING AND SCHEDULING CO NFERENCE


        TH IS CAUSE ishereby setting foran lnitialPlanning and Scheduling Conferencebefore

 the HonorableU rsula U ngaro, attheUnited StatesCourthouse, 400 N .M iam iA venue 12th Floor,
                                                                                  ,

 Courtroom 4,M iam i,Florida, on NOVEM BER 1,2019 at10:30 A .M .

        CounselforthePlaintiffts)isinstructed to providecopiesofthisorderto a11counselof
 record and to any unrepresented partiesthathave appeared in the case. Pursuantto Fed.R.CiV.P.

 26(9 andLocalRule16.1B,thepartiesarejointlyresponsibleforconferringtodevelopaproposed
 discovery plan;thereafter, thepartiesareto fileand serveaJointPlanning and Scheduling Report
                                                                                             ,

togetherwithaproposedSchedulingOrder, andan attachedservicelistincludingtheparties'nam es
                                                                                             ,


phonenum bersandfacsimilenumbers. Thereportandproposedorderm ustbefiledby OCTOBER

18,2019 and mustrecitethe following:

              A plainstatem entofthenatureoftheclaim andany counterclaims, cross-claim s,or
              third-party elaim ,ineluding the am ountof dam ages claim ed and any otherrelief
              sought.

              A briefsum mary ofthe facts which are uncontested orwhich can bestipulated to
              withoutdiscovery.
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              A briefsum mary oftheissuesaspresently known.

              W hetherdiscovery should be conducted in phasesorlimited to particularissues.

              A detailed scheduleofdiscovery foreach party.

              Proposeddeadlinesforjoinderofotherpartiesandtoamendthepleadings,tofileand
              hearm otionsand to com plete discovery.

              Proposed approxim ate datesforfinalpre-trialconferencesand trial .




       8.     Theprojectedtimenecessaryfortrialandastatementofwhetherthecaseisjuryor
              non-jurytrial.
              A listofa11pendingm otions,whethereach motion isftripe''forreview , the date each
              motionbecam eripe,and asum mary oftheparties'respectivepositionswithrespect
              to each ripe motion.

              Any unique legalorfactualaspectsofthe caserequiring specialconsideration by the
              Court.

       11.    Anypotentialneedforreferencesto a specialm asterorm agistrate.

       12.    The statusand likelihood ofsettlement.

       13.    Such othermattersasarerequired by LocalRule 16. 1(B)andasmayaidtheCourt
              in setting the case forstatus orpretrialconference and in the fairand expeditious
              administration and disposition ofthisaction.

                                 SERVICE OF PROCESS
       N otw ithstanding the provisions ofFederalRule of CivilProcedure 4, the Plaintiffis
ordered to serve and file returns of service on alID efendants prom ptly and atleastno later
than 14 daysprior to thePlanning and Scheduling Conference. In the eventany D efendant
rem ains unserved by that date,Plaintiffm ustinclude in the JointPlanning and Scheduling
R eporta detailed explanation sufficientto show good cause for the failure to effectservice.
lfPlaintifffailsto provideasufficientexplanation,theunserved Defendantwillbedism issed
from the action w ithoutfurther notice.

                    ELEC TR O N ICA LLY ST O R ED IN FO R M A TIO N
      Ifthepartiesanticipatethatelectronicallystoredinformation(''ESI'')willberelevanttothe
parties'claim s and defenses,they must engage in discussions and arrive at a plan, which is
proportionalandreasonableinrelationtothenatureandcomplexityofthecase, forthepreservation,
identification,and production ofESI. Theplanshallbeseparatelysubm ittedtotheCourtatthetim e
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 offiling theproposed Scheduling OrderforCourtapproval.
         ln form ulating aplan,the partiesshallinclude,ifnecessary to thecase,theirstipulation
 regarding the specification ofthe form atsin which documentsareto be produced,the m etadata
 fields,ifany,thatwillberequested,them ethodsby whichresponsivedocumentswillbeidentified,
 theproceduresthey willemployto protectclaim sofprivilege,and otherrequirements,conditions
 orprovisionsthatthepartiesbelievearenecessarytofacilitateandexpediteEsldocumentdiscovery.

        W ithrespecttoinitialdisclosuresrequired underFed.R.Civ.P.26(a)(l)-(2),pursuantto
 Rule26(a),thedisclosuresmustbemadeatorbeforethetimethepartiesconferto develop the
 discoveryplan.Thepartiesm ustcertify in the JointSchedulingReportthatsuch disclosureshave

 beenmadeunlessapartyobjectsduringtheconferencethattherequireddisclosurets)isnot
 appropriateinthecircumstancesoftheactionandfilesanobjectiontothespecificdisclosurets)with
 theCourt.Suchobjectionsmustbefilednolaterthanfifteen(15)dayspriortotheInitialPlanning
 and SchedulingConferenceandmustincludeafullexplanationofthebasisfortheobjections.
        ln theeventthatm otionsarependingbeforetheCourtatthetime oftheConference,the

 partiesshallbe prepared to argue,attheCourt'sdiscretion,them eritsofsuch motions.

        In the event the C ourt issues a Scheduling O rder prior to the lnitialPlanning and

 Scheduling C onference based on the inform ation provided by the parties in their Joint

 Planningand SchedulingR eport,theC ourtw illnotify thepartiesw hethertheC onferencew ill

 be canceled.

        DONEANDORDEREDthis /& dayofseptember,2019atuiami,p-lorida.

                                           U R SU LA UN G A R O
                                           U NITED STA TES DISTR IC T JU D G E

cc:a11counselofrecord
